 Case 3:08-cv-01337-B Document 160 Filed 07/27/10                   Page 1 of 14 PageID 2238



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


NAIEL NASSAR, M.D.                                §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §    CIVIL ACTION NO. 3:08-CV-1337-B
                                                  §
UNIVERSITY OF TEXAS                               §
SOUTHWESTERN MEDICAL CENTER,                      §
PARKLAND HEALTH & HOSPITAL                        §
SYSTEM, BETH LEVINE, M.D., and                    §
J. GREGORY FITZ, M.D.                             §
                                                  §
       Defendants.                                §

                          MEMORANDUM OPINION AND ORDER

       Before the Court is the motion of Plaintiff, Naiel Nassar, M.D. (“Plaintiff” or “Dr. Nassar”),

for an award of attorneys’ fees and costs pursuant to 42 U.S.C. § 2000e-5(k) following a jury verdict

in his favor on his claims of discrimination and retaliation against Defendant UT Southwestern

Medical Center at Dallas (“Defendant” or “UT Southwestern”). (doc. 146). Upon consideration

of the arguments and submissions of the parties in light of the governing authority, the Court

GRANTS Plaintiffs’ motion part and DENIES it in part. For the reasons set forth below, the Court

awards attorneys’ fees in the sum of $489,927.50 and taxable costs of $10,705.61.

                                                  I.

                                         BACKGROUND

       Dr. Nassar, a Muslim physician of Egyptian national origin, was an Assistant Professor of

Medicine at UT Southwestern whose primary duty was to provide patient care at the HIV/AIDS

clinic at Parkland Hospital (“Parkland”). Plaintiff’s lawsuit is grounded in allegations that he faced
 Case 3:08-cv-01337-B Document 160 Filed 07/27/10                        Page 2 of 14 PageID 2239


discriminatory and harassing treatment at UT Southwestern that constituted constructive discharge,

that he reported that treatment, and that as a result, UT Southwestern officials blocked his attempt

to gain employment at Parkland.1 He asserted claims against UT Southwestern, Parkland, and two

UT Southwestern physicians (Drs. Fitz and Levine) for discrimination and retaliation under Title

VII and Section 1981, tortious interference with business relations, and exemplary damages. (doc.

11). On February 5, 2010, the Court dismissed Dr. Nassar’s claims against Defendants Dr. Levine

and Dr. Fitz2 and granted summary judgment on his claim for tortious interference. (doc. 99). On

February 19, 2010, the Court granted Defendant Parkland’s motion for summary judgment. (doc.

100).

        The remaining claims of discrimination and retaliation against UT Southwestern were tried

to a jury beginning on May 17, 2010. The Court bifurcated the issues of liability and damages. On

May 24, 2010, the jury returned a verdict for Dr. Nassar on both claims, finding (1) that UT

Southwestern constructively discharged Dr. Nassar on the basis of his race, national origin, or

religious preference and (2) that UT Southwestern retaliated against Dr. Nassar by blocking or

objecting to his employment by Parkland because he engaged in protected activity. (doc. 140).

Following testimony on damages, the jury returned a verdict on May 27, 2010 awarding Dr. Nassar

$438,167.66 in back pay and benefits and $3,187,500.00 in compensatory damages. (doc. 143).

        On June 11, 2010, Plaintiff filed his motion for attorneys’ fees, seeking a total of $496,302.50



        1
          The relevant factual background is more fully described in the Court’s rulings on summary
judgment (docs. 99 and 100) and the trial transcript and is set forth here only to the extent necessary to
frame the discussion of attorneys’ fees and costs.
        2
           The Court dismissed those claims against Drs. Levine and Fitz that were brought against them
in their individual capacities.

                                                    -2-
 Case 3:08-cv-01337-B Document 160 Filed 07/27/10                          Page 3 of 14 PageID 2240


in attorneys’ fees and $11,098.59 in costs and expenses. (doc. 146). The fees and expenses are

divided between two law firms, Sawicki & Lauten, L.L.P. and the Aldous Law Firm, and the

application is supported by the declarations of attorneys from each firm together with itemized time

records. (Id; Lauten Decl.; Walker Decl.).

                                                      II.

                                                 ANALYSIS

        Section 706(k) of the Civil Rights Act of 1964 (Title VII), 42 U.S.C. § 2000e-5(k), provides

in relevant part that a “court, in its discretion, may allow the prevailing party, other than the [Equal

Employment Opportunity] Commission or the United States, a reasonable attorney’s fee as part of

the costs.” The jury found in Dr. Nassar’s favor on his Title VII claims for discrimination and

retaliation, awarding substantial damages. Where a statute provides for an award of attorneys’ fees,

an award should be given unless “special circumstances” render the award unjust. Blanchard v.

Bergeron, 489 U.S. 87, 89 n.1 (1989). The Court finds no such special circumstances3 in this case,

and none have been argued, that would render an award unjust. Defendant does not challenge Dr.

Nassar’s status as a prevailing party or his entitlement to reasonable attorneys’ fees. The task before

the Court is to determine what award of attorneys’ fees and costs is “reasonable.” Hensley v.

Eckerhart, 461 U.S. 424, 433 (1983).

        In awarding statutorily-authorized attorneys’ fees, district courts in the Fifth Circuit employ

a two-step procedure. See Louisiana Power & Light Co. v. Kellstrom, 50 F.3d 319, 323-24 (5th Cir.

1995). First, the reasonable number of hours expended by counsel is multiplied by the reasonable

        3
           The “special circumstances” exception is narrow and requires a “strong showing” to justify a
denial of attorneys’ fees to a prevailing plaintiff. Gibbs v. Town of Frisco City Police Dep’t, 626 F.2d 1218,
1221 (5th Cir. 1980).

                                                      -3-
 Case 3:08-cv-01337-B Document 160 Filed 07/27/10                        Page 4 of 14 PageID 2241


hourly rate charged by lawyers in the community. Id. at 324. The product of this multiplication is

the base fee, or “lodestar”, which the Court then either accepts or adjust upward or downward based

on twelve factors enunciated in Johnson v. Georgia Highway Express, Inc.., 488 F.2d 714 (5th Cir.

1974).4 The Court may modify the lodestar if any of the Johnson factors not already considered in

determining the lodestar warrant an adjustment. See Watkins v. Fordice, 7 F.3d 453, 457 (5th Cir.

1993). The “‘lodestar’ figure has, as its name suggests, become the guiding light of our fee-shifting

jurisprudence.” Perdue v. Kenny A., 130 S.Ct. 1662, 1672 (2010). It is presumptively reasonable and

should be modified only in exceptional cases. Watkins, 7 F.3d at 457 (citing City of Burlington v.

Dague, 505 U.S. 557, 562 (1992)).

        Plaintiff moves the Court to award attorneys’ fees in the amount of $496,302.50 for the work

of four attorneys from two law firms who have represented Dr. Nassar since 2008. (doc. 146, p. 5;

Lauten Decl. ¶ 5; Walker Decl. ¶ 7). Plaintiff’s figure is the result of a lodestar calculation described

in attorney declarations, and is supported by attached documentation of the time spent on particular

tasks. (Id; Ex. 1 to Lauten Decl; Ex. 1 to Walker Decl.). Applying the Johnson factors, Plaintiff

further moves for an upward adjustment of the lodestar figure. (doc. 146, p. 6). Defendant objects

to both the hours expended and the rates charged in the calculation of the lodestar and also moves

for a downward departure from the lodestar figure. (doc. 158, pp. 1-2).

        A.      Calculation of the Lodestar

        “The lodestar is the product of the number of hours reasonably expended on the litigation


        4
             The Johnson factors are: (1) the time and labor required; (2) the novelty and difficulty of the
case; (3) the skill required; (4) the preclusion of other employment; (5) the customary fee; (6) whether
the fee is fixed or contingent; (7) time limitations imposed; (8) the results obtained; (9) the experience,
reputation, and ability of the attorneys; (10) the undesirability of the case; (11) the nature and length of
the professional relationship with the client; and (12) awards in similar cases. Johnson, 488 F.2d at 717-19.

                                                    -4-
 Case 3:08-cv-01337-B Document 160 Filed 07/27/10                   Page 5 of 14 PageID 2242



multiplied by a reasonable hourly billing rate.” League of United Latin Am. Citizens # 4552 v. Roscoe

Indep. Sch. Dist., 119 F.3d 1228, 1232 (5th Cir. 1997). The Court will evaluate each component

in turn, together with Defendant’s objections.

       The first step in the calculation of the lodestar is to determine the number of hours

reasonably expended by counsel. The Court may exclude from the lodestar calculation “excessive,

redundant or otherwise unnecessary” hours or hours that lack proper documentation. Hensley v.

Eckerhart, 461 U.S. 424, 434 (1983); Wright v. Blythe-Nelson, No. 3:99-cv-2522-D, 2004 WL

2870082 at *5 (N.D. Tex. Dec. 13, 2004). The prevailing party, Dr. Nassar, bears the burden of

establishing with sufficient documentation both that the total number of hours claimed were

reasonable and that particular hours were reasonably expended. Hensley, 461 U.S. at 434; Bode v.

U.S., 919 F.2d 1044, 1047 (5th Cir. 1990).

       Defendant lodges several challenges to the number of hours claimed and the sufficiency of

their documentation. (doc. 158, pp. 5-8). UT Southwestern’s challenges can be characterized as

objections to the necessity of the hours claimed and objections to the documentation of particular

hours. First, UT Southwestern argues that “Plaintiff has failed to establish that engaging two

separate law firms was not redundant or excessive for the nature and scope of this case.” (Id. at p.

5). The Court will not reduce the hours on this ground in this case. Though Dr. Nassar was

represented by two law firms, he requests fees only for the work of four attorneys. The Court

observed the performance of the attorneys at trial and discerned a reasonable division of labor;

billing records submitted by each firm reflect that division of labor and include a permissible amount

of collaboration that does not appear on the Court’s inspection to be redundant or excessive. See

Heasley v. Comm’r of Internal Revenue, 967 F.2d 116, 123 (5th Cir. 1992) (Noting the trial court’s

                                                 -5-
 Case 3:08-cv-01337-B Document 160 Filed 07/27/10                    Page 6 of 14 PageID 2243



opportunity to observe and assess the credibility of the attorneys submitting fee application).

        UT Southwestern also argues that Dr. Nassar’s “billing records appear to include a number

of time entries detailing work that would include previously dismissed claims.” (doc. 158, p. 5). Dr.

Nassar’s complaint included claims against Parkland, Dr. Fitz and Dr. Levine, as well as tort claims

that were dismissed.    “A prevailing litigant may not recover for hours devoted solely to claims

against other parties” or unsuccessful claims. Kellstrom, 50 F.3d at 327. Dr. Nassar contends that

all hours included in his fee claim were incurred in pursuit of his successful Title VII claims against

UT Southwestern. See Lauten Decl., ¶ 5 (“[T]he work described [ ] was exclusively performed in

the prosecution of the discrimination and retaliation alleged against UT Southwestern Medical

Center.”). UT Southwestern does not identify any time entries that it contends were incurred solely

for claims against other defendants, incurred in pursuit of unsuccessful claims, or that are otherwise

unrecoverable and the Court’s review does not reveal such entries. Through attorney declarations

and the attached billing records, Dr. Nassar has met his burden of establishing that the fees claimed

were incurred in the prosecution of his Title VII claims against UT Southwestern. The potential

applicability of some of the claimed work to dismissed claims would not undermine Dr. Nassar’s

entitlement to fees for “all hours necessary to litigate those issues” on which he succeeded. Kellstrom,

50 F.3d at 327. See also, Hensley, 461 U.S. at 434-35 (No reduction necessary where claims against

multiple parties share a “common core of facts” or involve “related legal theories.”). Accordingly,

the Court declines to reduce Dr. Nassar’s claimed hours on the basis of this objection.

        Defendant’s objection to the sufficiency of certain entries has merit. “The fee applicant has

the burden of presenting adequate documentation of the hours reasonably expended.” LULAC, 119

F.3d at 1233. A prevailing party’s “documentation must be sufficient for the court to verify that the

                                                  -6-
 Case 3:08-cv-01337-B Document 160 Filed 07/27/10                         Page 7 of 14 PageID 2244



applicant has met is burden.” Kellstrom, 50 F.3d at 324. “If the applicant’s documentation of the

hours claimed is ‘vague or incomplete,’ the district court may reduce or eliminate those hours.”

LULAC, 119 F.3d at 1233. While attorneys are not required to “‘write a book’ to describe in

excruciating detail the professional services rendered,” they must provide sufficient detail to enable

the Court to apply its discretion. Id. The overwhelming majority of Dr. Nassar’s entries contain a

“short but thorough description of the services rendered.” Walker v. City of Mesquite, 313 F.3d 246,

252 (5th Cir. 2002). Defendant specifically challenges the time entries attached to Mr. Walker’s

declaration consisting of “prepare for trial” or “trial preparation.” (doc. 158, p. 7). The Court agrees

that such “exceptionally terse descriptions of activities do not satisfy the applicant’s burden.” Wright,

2004 WL 2870082 at *5. As a result, the Court has the discretion to “reduce or eliminate those

hours,” which represent a value of $20,250.5

        The Court will not eliminate the hours, which reflect the work of Charla Aldous, one of Dr.

Nassar’s principal trial attorneys. Spare as the descriptions are, Ms. Aldous’ preparation was evident

and her presentation at trial superb. While the description is hardly illuminating, the number of

hours claimed appears to be reasonable in light of the results obtained and the Court’s observation

of the attorney’s performance at trial. Nevertheless, the standard in the Northern District of Texas

requires a fee applicant to provide more than an “exceptionally terse description[ ] of activities” and

the descriptions “prepare for trial” or “trial preparation” do not permit the Court to conduct a




        5
           The Court calculates this figure by adding the values of four entries: “Begin trial preparation,” in
the amount of 8.6 hours, “Continued trial preparation” in the amount of 11.5 hours, and “trial
preparation” in the amounts of 2.3 and 4.6 hours. Though the billing records include entries that tread
close to the limit, the Court finds that in context, only the entries described here (totaling 27 hours) merit
further consideration by the Court. Kellstrom, 50 F.3d at 327.

                                                     -7-
 Case 3:08-cv-01337-B Document 160 Filed 07/27/10                   Page 8 of 14 PageID 2245



meaningful evaluation of the challenged hours. Id. Upon consideration of the evidence before the

Court and in exercise of discretion, the Court concludes that a ten percent reduction is appropriate

for those 27 hours that, though likely necessary, were inadequately documented. With the exception

of those hours, the Court finds that the remaining hours for which Dr. Nassar seeks attorneys’ fees

were reasonably expended and sufficiently documented. The Court declines to award fees

prospectively for those services that may be incurred on post-trial motions or appeal. (See Lauten

Decl. ¶ 7; Walker Decl. ¶ 9). Wright, 2004 WL 2870082 at * 4 n. 6 (“This court’s uniform practice

is to deny such requests without prejudice to awarding them on a subsequent application based on

the fees incurred.”).

        UT Southwestern also challenges the hourly rates sought by Dr. Nassar’s attorneys. (doc.

158, pp. 7-9). In computing the lodestar, the Court considers the prevailing market rates in the

community to determine a “reasonable hourly rate.” League of United Latin Am. Citizens # 4552, 119

F.3d at 1234. The “relevant market for purposes of determining the prevailing rate to be paid in a

fee award is the community in which the district court sits.” Tollett v. City of Kemah, 285 F.3d 357,

368 (5th Cir. 2002). “When an attorney’s customary billing rate is the rate at which the attorney

requests the lodestar be computed and that rate is within the range of prevailing market rates, the

court should consider this rate when fixing the hourly rate to be allowed.” Kellstrom, 50 F.3d at 328.

The prevailing party bears the burden of producing evidence that the requested rate accords with

the standard. Blum v. Stenson, 465 U.S. 886, 895 n. 11 (1984); Id. at 368. “The hourly fee awarded

must be supported by the record; the district court may not simply rely on its own experience in the

relevant legal market to set a reasonable hourly billing rate.” LULAC, 119 F.3d at 1234.

       Defendant argues that Dr. Nassar has not met his burden and that the rates requested ($400

                                                 -8-
 Case 3:08-cv-01337-B Document 160 Filed 07/27/10                   Page 9 of 14 PageID 2246



per hour for Mr. Walker, $500 per hour for Mr. Lauten, $500 per hour for Ms. Lauten, and $750 per

hour for Ms. Aldous) are excessive. Dr. Nassar supports the claimed rates with affidavits from each

law firm asserting that the rates sought are both their customary (or previously accepted) rates and

within the prevailing rates in this community. (Lauten Decl., ¶ 5, Walker Decl. ¶ 6). UT

Southwestern argues that Dr. Nassar’s evidence is insufficient and does not include affidavits from

other practicing attorneys to show that the rates are within the ranges appropriate in this market.

(doc. 158, pp. 8-9), but it does not offer evidence of what would constitute an appropriate rate.

       The lodestar computation is designed to produce “an award that roughly approximates the

fee that the prevailing attorney would have secured if he or she had been representing a paying client

who was billed by the hour in a comparable case.” Kenny A., 130 S.Ct at 1676. This reflects the

Supreme Court’s instruction that a “reasonable attorney’s fee is one that is adequate to attract

competent counsel, but that does not produce windfalls to attorneys.” Id. (citing Blum, 465 U.S. at

897). “There is no windfall of attorneys’ fees when the district court properly considers the

relationship between the extent of the success and the amount of the fee award.” EEOC v. Clear

Lake Dodge, 60 F.3d 1146, 1154 (5th Cir. 1995). Dr. Nassar’s failure to include affidavits of other

practicing attorneys is not necessarily fatal, though such evidence would be helpful in a case where

rates are disputed. Tollett, 285 F.3d at 368. In the Court’s review, “the degree of the plaintiff’s

overall success goes to the reasonableness of a fee award.” EEOC v. Clear Lake Dodge, 60 F.3d 1146,

1154 (5th Cir. 1995); see also Farrar v. Hobby, 506 U.S. 103, 114 (1992) (“Indeed, ‘the most critical

factor’ in determining the reasonableness of a fee award ‘is the degree of success obtained.’”)

(citations omitted)).

       In light of the degree of success obtained and the evidence submitted, the Court finds that

                                                 -9-
Case 3:08-cv-01337-B Document 160 Filed 07/27/10                    Page 10 of 14 PageID 2247



the lodestar may be calculated using the requested rates, with one exception. Dr. Nassar’s

application includes affidavits and other evidence that describes the relevant experience and

customary (or previously accepted) rates of each of his attorneys with the exception of Amy Lauten.

While the Court may consider the credibility of the attorney submitting an application, it must base

its conclusion on the evidence rather than its experience. Heasley, 967 F.2d at 123; LULAC, 119

F.3d at 1234. Ms. Lauten’s rate is not without evidentiary support, but that evidentiary support is

limited to a few unadorned lines in an attorney declaration. Accordingly, in the exercise of

discretion the Court finds it appropriate to reduce her billing rate by 20% to $400, which is

reasonable in light of the superior results obtained. The other rates, when applied to the number

of hours as modified above, yield a lodestar calculation that both provides reasonable compensation

and avoids windfall. This is not to say that these rates are typical or will be routinely accepted, only

that they are supported by the record and are reasonable given the specific facts of this case and the

remarkable degree of success obtained. A lodestar so calculated gives “adequate consideration to

the result obtained relative to the fee award, and the result obtained relative to the result sought.”

Migis v. Pearle Vision, 135 F.3d 1041, 1048 (5th Cir. 1998)

       B.      Adjustment of the Lodestar

       Both Dr. Nassar and UT Southwestern argue for an adjustment of the lodestar figure based

on the twelve Johnson factors described above. See supra, n. 4 (listing factors that may be

considered). The Supreme Court recently addressed the scope of the trial court’s discretion to adjust

the lodestar figure in Perdue v. Kenny A. 130 S.Ct 1662 (2010). As a rule, the Supreme Court

noted, the figure reached through the lodestar calculation is presumptively reasonable, and that

presumption is a “strong one.” Id. at 1673. The party seeking an adjustment of the lodestar bears

                                                 -10-
Case 3:08-cv-01337-B Document 160 Filed 07/27/10                     Page 11 of 14 PageID 2248



the burden of establishing that it is justified. See Id. (reviewing requested upward adjustment of the

lodestar) and Kellstrom, 50 F.3d at 329 (reviewing requested reduction of the lodestar). This burden

is met by presenting “specific evidence” that the adjustment is “necessary to provide fair and

reasonable compensation,” that is, to provide a sufficient inducement for a capable attorney to take

meritorious cases without providing a windfall. Kenny A., 130 S.Ct. at 1672-73.

        “Of the Johnson factors, the court should give special heed to the time and labor involved,

the customary fee, the amount involved and the result obtained, and the experience, reputation and

ability of counsel.” Saizan v. Delta Concrete Prods. Co., Inc., 447 F.3d 795, 800 (5th Cir. 2006) (citing

Migis, 135 F.3d at 1047). Of these, the most critical factor is the degree of success obtained. Farrar,

506 U.S. at 114. The Court may not modify the lodestar based on a Johnson factor that was already

taken into account in determining the lodestar; “to do so would be impermissible double counting.”

Saizan, 448 F.3d at 800.

        Dr. Nassar argues that the Johnson factors justify an upward departure and UT Southwestern

contends that application of the same factors justifies a downward departure, if any. (doc. 146, pp.

3-6; doc. 158, pp. 9-13). The Court denies both parties’ requests for adjustment of the lodestar. The

Johnson factors identified as most relevant were considered in the Court’s determination of the

lodestar. The time and labor required (factor 1) was fully considered when determining and

adjusting the number of hours reasonably expended by counsel. The novelty and difficulty of the

issues (factor 2) were “fully reflected in the number of billable hours recorded by counsel.” Kenny

A., 130 S.Ct. at 1673. Having considered these factors, the Court will not independently analyze

the varying characterizations of this case offered by the parties. Similarly, the skill required (factor

3), the preclusion of other employment by the attorney (factor 4), and the customary fee charged

                                                  -11-
Case 3:08-cv-01337-B Document 160 Filed 07/27/10                    Page 12 of 14 PageID 2249



for those services in the relevant community (factor 5)are typically – and were in this case –

considered in evaluating the hourly rates used in calculating the lodestar. See id. (“considerations

concerning the quality of a prevailing party’s counsel’s representation are reflected in the reasonable

hourly rate”) and Kimberly-Clark, 2008 WL at * 8 (rates charged “take into account the fact that

accepting employment on any particular matter will necessarily limit the attorneys’ ability to accept

other cases”). Whether the fee is fixed or contingent (factor 6)”cannot serve as a basis for

enhancement of attorneys’ fees awarded” and UT Southwestern has presented no evidence that this

factor should justify a downward departure. Shipes v. Trinity Indus., 987 F.2d 311, 323 (5th Cir.

1993). The parties presented no evidence that time limitations (factor 7) justify an adjustment. The

Court considered the results obtained (factor 8) in its lodestar analysis; the results obtained were

neither partial and limited nor are they such that a reasonable lodestar would not fairly compensate

Dr. Nassar’s attorneys. The experience, reputation, and ability of the attorneys (factor 9) was

considered in calculating the lodestar does not justify a modification. No evidence indicates that

“the lodestar calculation does not adequately measure the attorney’s true market value, as

demonstrated in part during the litigation.” Kenny A., 130 S.Ct at 1674. Neither party has

presented “specific evidence” that the remaining factors justify an adjustment of the lodestar.

       C. Costs

       Dr. Nassar also seeks to recover certain out of pocket costs incurred in this lawsuit. (doc.

146, p6). The Lauten firm seeks $10,556.59 and the Aldous firm seeks $542.00 in costs for a total

of 11,098.59 (Lauten Decl. ¶ 6; Walker Decl.¶ 8). Federal Rule of Civil Procedure 54 allows a

prevailing party to recover certain costs, excluding attorneys’ fees. Fed. R. Civ. P. 54(d). The costs

taxable to an unsuccessful litigant include fees of the clerk, marshal, and court reporter; fees for

                                                 -12-
Case 3:08-cv-01337-B Document 160 Filed 07/27/10                     Page 13 of 14 PageID 2250



printing and witnesses; fees for exemplification and copies of papers obtained for use in the case;

docket fees; and compensation of court appointed experts and interpreters. 28 U.S.C. § 1920. Dr.

Nassar bears the burden of supporting his request for costs and expenses “with evidence

documenting the costs incurred.” Wright, 2004 WL 2780082 at *9.

        UT Southwestern does not object specifically to any costs claimed or challenge the

documentation, reasonableness, or necessity of any claimed cost or expense. The majority of Dr.

Nassar’s claimed expenses are supported by appropriate documentation and may be recovered by a

prevailing party. Nevertheless Plaintiff’s request includes several categories of charges that do not

appear to be taxable as costs, including fees for parking ($145.00), supplies ($29.77), and meals

($218.21), and Plaintiff does not offer authority for their recovery. As a result, in its discretion, the

Court declines to award those costs and will reduce its award of costs by $392.98. The Court finds

that Dr. Nassar may recover the remaining costs, in the amount of $10,705.61.

                                                  III.

                                           CONCLUSION

        For the reasons stated above, the Court finds that Dr. Nassar is entitled to attorneys’ fees

calculated through the lodestar method as modified in this Order and declines to adjust the lodestar

upwards or downwards. Accordingly, the Court GRANTS in part Dr. Nassar’s motion and DENIES

it in part. The Lauten firm may recover attorneys’ fees in the amount of $314,720, which accounts

for the reduction in the hourly rate described above. The Aldous firm may recover attorneys’ fees

in the amount of $175,207.50, which accounts for the reduction in hours described above. Dr.

Nassar is entitled to recover costs in the amount of $10,705.61. The Court denies Dr. Nassar’s

prospective request for attorneys’ fees that may be incurred in post trial motions or appeal.

                                                  -13-
Case 3:08-cv-01337-B Document 160 Filed 07/27/10   Page 14 of 14 PageID 2251



     SO ORDERED

     SIGNED: July 27, 2010



                                  _________________________________
                                  JANE J. BOYLE
                                  UNITED STATES DISTRICT JUDGE




                                    -14-
